Case 14-31229-sgj15       Doc 78     Filed 04/14/14 Entered 04/14/14 17:49:17     Desc Main
                                    Document      Page 1 of 2


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 Attorneys for the Petitioner Robert Marie Mark Karpeles,
 Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                            )
 In re                                      ) Chapter 15
                                            )
 MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                            )
            Debtor in a Foreign Proceeding. )
                                            )

                            NOTICE OF EMERGENCY HEARING
                                  [Relates to Dkt. No. 76]

           PLEASE TAKE NOTICE that the hearing on the Petitioner’s Emergency Motion for

 Continuance of Deposition [Dkt. No. 476] is set to occur on April 16, 2014 at 9:30 a.m.

 (Prevailing Central Time) and will take place before the Honorable Stacey G.C. Jernigan, at



 775892-v1\DALDMS
Case 14-31229-sgj15      Doc 78    Filed 04/14/14 Entered 04/14/14 17:49:17        Desc Main
                                  Document      Page 2 of 2



 the United States Bankruptcy Court, Northern District of Texas, 14th Floor, 1100

 Commerce Street, Dallas, Texas 75252.

 Dated: April 14, 2014                    Respectfully submitted,
        Dallas, Texas
                                          BAKER & McKENZIE LLP

                                          By:    /s/ David W. Parham
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 775892-v1\DALDMS                            2
